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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


                           AMENDED TRIAL NOTICE AND
                             FINAL PRETRIAL ORDER

        The civil cases on the attached list are now scheduled for trial before Judge Susan
Richard Nelson, beginning on Monday, January 8, 2018 at 9:00 a.m. The cases are
listed in the order in which they will be tried. If a matter is resolved, the next case on the
list should be prepared to proceed. Division 5 cases may be tried in the Duluth
courthouse, and Division 6 cases may be tried in the Fergus Falls courthouse.


                               PRETRIAL CONFERENCE
       A pretrial conference for the first case to be tried will be conducted by Judge
Nelson in Courtroom 7B at the United States Courthouse, 316 North Robert Street, St.
Paul, Minnesota, on Friday, December 8, 2017 at 1:30 p.m. All attorneys who will try
the case must attend. The parties must also schedule a final settlement conference with
the Magistrate Judge before the pretrial conference.


                          INSTRUCTIONS FOR ALL CASES
       1. Submitting Documents. All documents must be filed electronically on
CM/ECF and served on all parties, and two courtesy copies of every document must be
delivered to the chambers of Judge Nelson. Judge Nelson prefers those courtesy copies to
be three-hole punched and unstapled (and, if warranted, appropriately tabbed and within
binders). Courtesy copies should be received in the clerk’s office at the St. Paul
courthouse no later than 11:00 a.m. on the next working day following filing.
         2. Trial Briefs. Each party must file a trial brief by Friday, November 10, 2017.
In its trial brief, a party must include the following information:
       a.     Trial Counsel. The party must list the names, addresses, telephone
              numbers, and e-mail addresses of the attorney(s) who will try the case.
       b.     Jury/Non-Jury. The party must state whether the case is to be tried to a
              jury or to the Court.
       c.     Length of Trial. The party must provide a realistic estimate of the length
              of the trial, including, if applicable, jury selection and jury charge.
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 d.    Jurisdiction. The party must identify the basis for federal jurisdiction of
       each cause of action.

 e.    Facts. The party must provide a brief summary of the facts that the party
       intends to prove at trial.

 f.    Claims or Defenses. The party must briefly describe each cause of action
       — including, if applicable, each claim, counterclaim, and cross-claim —
       and any affirmative defenses that will be tried.

 g.    Unresolved Issues. The party must identify any substantive, evidentiary,
       or procedural issues that remain unresolved. The party must briefly
       describe the party’s position on the unresolved issues and identify the
       primary legal authority on which the party relies.

 3. Exhibits.
 a.    By Friday, November 3, 2017, the parties must exchange lists of the
       exhibits that they intend to offer at trial and make those exhibits available
       to the other parties for examination and copying.
 b.    Each party must file a list of its exhibits by Friday, November 10, 2017.
       i.       Use the Exhibit & Witness list form on the Court’s website, and list
                each exhibit separately, so that the exhibit’s admission into evidence
                may be easily recorded. Email a copy of the exhibit list, in word-
                processing format, to nelson_chambers@mnd.uscourts.gov.
       ii.      Plaintiff must mark its first exhibit as “P-1” and number the others
                sequentially. Defendant must mark its first exhibit as “D-1” and do
                likewise. The case number must appear on each exhibit.

       iii.     Only exhibits that are identified on the exhibit list and filed with the
                Court may be offered at trial, unless the omission is excused for
                good cause.
 c.    Send two courtesy copies of the exhibits to chambers by Friday,
       November 17, 2017. Original exhibits must not be submitted with the
       pretrial papers.
       i.       One courtesy copy of all exhibits must be submitted in three-ring
                binders, appropriately divided and tabbed.
       ii.      One courtesy copy of all exhibits must be submitted in electronic
                format (e.g., cd or flash-drive). Please do not email trial exhibits to
                chambers.

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        4. Witness Lists. By Friday, November 10, 2017, each party must file a list of
the names and addresses (city and state only) of the witnesses whom the party intends to
call at trial, as well as a brief description of the substance of the expected testimony of
each witness. No person who is not identified on a party’s witness list may testify at trial,
unless the omission is excused for good cause.
       5. Deposition Designations.
       a.     By Friday, November 10, 2017, the parties must exchange and file lists of
              the specific deposition testimony that they intend to offer at trial. No
              deposition testimony that is not identified on a party’s list may be offered at
              trial, unless the omission is excused for good cause.
       b.     Objections to deposition designations must be exchanged and filed by
              Friday, November 17, 2017.
        6. Motions in Limine. All motions in limine must be filed by Friday,
November 10, 2017, and responses to all such motions must be filed by Friday,
November 17, 2017. Each motion in limine must be limited to one discrete issue. No
brief in support of, or in opposition to, any motion in limine may exceed 3,000 words.
No reply brief may be submitted with respect to any motion in limine without the prior
permission of the Court.
       7. Stipulations and Settlement. The parties are strongly encouraged to meet in
advance of trial, to make every effort to settle the case, and, if settlement is not reached,
to make every effort to agree on as many trial-related matters as possible, such as facts
that may be treated as established and exhibits that may be treated as authentic.
        8. Courtroom Technology. The courtroom is fully equipped with an evidence
presentation system which includes a digital document camera, audio and video players
and laptop connections. All exhibits are to be displayed using the courtroom technology.
Training on the use of the courtroom technology systems is free and Judge Nelson
requires that all attorneys involved in the litigation of a case complete at least an
overview on use of the courtroom technology. Please contact Susan Del Monte, Judge
Nelson’s Courtroom Deputy, at 651-848-1970 to schedule training times prior to your
trial date.
        9. Daily transcripts. If any party intends to order daily transcripts of the trial, that
party should contact Judge Nelson’s court reporter, Heather Schuetz, as soon as possible,
so that she can make arrangements for other court reporters to assist her during the trial.
Ms. Schuetz’s email address is heather schuetz@mnd.uscourts.gov.




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                   ADDITIONAL INSTRUCTIONS FOR JURY TRIALS

       1. Proposed Voir Dire. A party must file any questions that it requests the Court
to ask prospective jurors during voir dire examination by Friday, November 10, 2017.
The proposed voir dire must be e-mailed in word-processing format to
nelson_chambers@mnd.uscourts.gov.
       2. Joint Introduction to the Case. By Friday, November 10, 2017, the parties
must jointly file a proposed introduction to the case that Judge Nelson can read to
prospective jurors during voir dire. The introduction should briefly describe the parties,
the major issues, the plaintiff’s position, and the defendant’s position. The joint
introduction to the case must be e-mailed in a word-processing format to
nelson_chambers@ mnd.uscourts.gov.
       3. Joint List of Parties, Attorneys, and Witnesses. By Friday, November 10,
2017, the parties must jointly file an alphabetized list of the names of all parties,
attorneys, and witnesses. Judge Nelson may provide that list to prospective jurors during
voir dire. The joint list of parties, attorneys, and witnesses must be e-mailed in a word-
processing format to nelson_chambers@mnd.uscourts.gov.
       4. Proposed Jury Instructions.
       a.     No later than Friday, November 3, 2017, the parties must exchange
              proposed jury instructions. The parties must then meet and confer and
              make every effort to resolve disagreements over those proposed
              instructions.
       b.     The parties must jointly file one set of proposed jury instructions by
              Friday, November 10, 2017. The proposed instructions must be e-mailed
              in a word-processing format to nelson_chambers@mnd.uscourts.gov.
              i.      Each proposed instruction must be numbered, appear on a separate
                      page, and identify supporting legal authority.
              ii.     Instructions or parts of instructions on which the parties agree must
                      appear in plain Roman type.
              iii.    If a party seeks (over objection) to have language added to or deleted
                      from an instruction, the proposed change must be noted in boldface
                      or italics, and a brief description of the party’s position and the
                      primary legal authority on which the party relies must be provided.
      5. Proposed Special Verdict Form. The parties must attempt to agree on a
proposed special verdict form. If they succeed, that form must be filed by Friday,
November 10, 2017. If they do not succeed, the parties must file their own proposed
forms by Friday, November 17, 2017. The proposed special verdict forms (whether


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submitted jointly or individually) must also be e-mailed in a word-processing format to
nelson_chambers@mnd.uscourts.gov.



Dated: September 6, 2017                        s/Susan Richard Nelson
                                                SUSAN RICHARD NELSON
                                                United States District Judge




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         Civil Trial Calendar Commencing January 8, 2018 at 9:00 a.m.
                        Before Judge Susan Richard Nelson

1. Jessica Leah Kampschroer, et al.            Case No. 13-cv-2512 (SRN/TNL)

   v.                                          JURY TRIAL in St. Paul – 5 days
                                               Courtroom 7B, U.S. Courthouse
   Anoka County, et al.                        316 N. Robert Street, St. Paul MN

   For Plaintiff:                Jonathan A. Strauss           612-756-7100
                                 Lorenz F. Fett, Jr.           612-756-7100
                                 Robin M. Wolpert              612-756-7100
                                 Sonia L. Miller-Van Oort      612-756-7100
                                 Jeffrey M. Montpetit          612-333-4500
                                 Marcia K. Miller              612-333-9781
                                 Susan Holden                  612-333-4500

   For Defendants Cities of   Stephanie A. Angolkar            952-548-7200
   Bloomington, Farmington,   Jon K. Iverson                   952-548-7200
   Maple Grove, and Woodbury: Susan M. Tindal                  952-548-7200

   For Defendant Hennepin        Toni A. Beitz                 612-348-8533
   County:                       Daniel D. Kaczor              612-348-8301
                                 Beth A. Stack                 612-543-1357

   For Defendants Counties of    Joseph E. Flynn               651-290-6500
   Crow Wing, Mille Lacs, and    Robert I. Yount               651-290-6500
   Wright:



2. Jason Johnston                              Case No. 15-cv-3685 (SRN/SER)

   v.                                          JURY TRIAL in St. Paul – 9 days
                                               Courtroom 7B, U.S. Courthouse
   BNSF Railway Company                        316 N. Robert Street, St. Paul MN

   For Plaintiff:                Jon M. Moyers                 406-655-4900
                                 Kathryn Kohn Troldahl         612-597-3899

   For Defendant:                Timothy R. Thornton           612-977-8550
                                 Tara Reese Duginske           612-977-5837


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         Civil Trial Calendar Commencing January 8, 2018 at 9:00 a.m.
                        Before Judge Susan Richard Nelson


3. Brian Thomas Hoyland                       Case No. 14-cv-2977 (SRN/KMM)

   v.                                         JURY TRIAL in St. Paul – 4 days
                                              Courtroom 7B, U.S. Courthouse
   Shawn McMenomy, et al.                     316 N. Robert Street, St. Paul MN

   For Plaintiff:              Frederick J. Goetz               612-874-1552

   For Defendants:             Jon K. Iverson                   952-548-7204
                               Brian P. Taylor                  952-548-7215
                               Jason M. Hiveley                 952-548-7209




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